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 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-131-TLN

12                                  Plaintiff,            STIPULATION AND ORDER CONTINUING
                                                          STATUS CONFERENCE HEARING DATE AS TO
13                           v.                           DEFENDANT LEOBARDO MARTINEZ-
                                                          CARRANZA ONLY, AND EXCLUDING TIME
14   JOSE MANUEL VALDEZ-TORRES, ET AL.,                   UNDER THE SPEEDY TRIAL ACT

15                                  Defendants.
                                                          Court: Hon. Troy L. Nunley
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18          Whereas, defense counsel Jesse Ortiz, Esq., for defendant Leobardo Martinez-Carranza desires
19 additional time to allow him to attempt to resolve pretrial this prosecution as defense counsel needs to:

20 (1) review scores of telephone conversations, some of which are in Spanish language and others in the

21 English language and often in alleged code, related to alleged multiple drug transactions; (2) review

22 Sentencing Guidelines calculations applicable to his client; (3) explain the ramifications and

23 consequences of accepting vs. rejecting the plea offer made to his client, and (4) retain the services of a

24 Spanish/English language interpreter to accompany him to travel to the Nevada County Jail to meet with

25 his client and provide translation services in explaining the written plea agreement offered by the United

26 States to his client (in the recent past, defense counsel has had difficulty obtaining an interpreter to

27 perform such work on this case),

28          It is hereby stipulated and agreed by, and between, the United States, on the one hand, and

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 1 defendant Leobardo Martinez-Carranza, on the other hand, through their respective counsel that:

 2          1.       The presently set October 5, 2017, status conference hearing as to defendant Leobardo

 3 Martinez-Carranza only shall be continued to November 9, 2017, at 9:30 a.m.

 4          2.       The Court shall find that the denial of the requested continuance would deny counsel for

 5 defendant Leobardo Martinez-Carranza reasonable time necessary for effective preparation, taking into

 6 account the exercise of due diligence.

 7          3.       The Court shall find that the ends of justice served by the granting of such continuance

 8 outweigh the best interests of the public and defendant Leobardo Martinez-Carranza in a speedy trial.

 9          5.       Pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4, the Court shall

10 exclude time from the date of the parties’ stipulation, October 3, 2017, until the proposed November 9,

11 2017, status conference date from computation of time within which the trial of this matter must be

12 commenced to allow defense counsel time to prepare his client's defense.

13
     DATED: October 3, 2017                               PHILLIP A. TALBERT
14                                                        United States Attorney

15                                                        /s/ Samuel Wong
                                                   By:
16                                                        SAMUEL WONG
                                                          Assistant United States Attorney
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18 DATED: October 3, 2017
                                                          /s/ Jesse Ortiz
19                                                 By:
                                                          JESSE ORTIZ
20                                                        Attorney for defendant
                                                          Leobardo Martinez-Carranza
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 1                                                   ORDER

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 3          Pursuant to stipulation of respective counsel for the parties, and good cause appearing therefrom,

 4 the Court adopts the stipulation of the parties in its entirety as its ORDER.

 5          The Court hereby finds that:

 6                   1.     The denial of the requested continuance would deny counsel for defendant

 7          Leobardo Martinez-Carranza the reasonable time necessary for effective preparation, taking into

 8          account the exercise of due diligence.

 9                   2.     The ends of justice served by the granting of such continuance outweigh the best

10          interests of the public and defendant Leobardo Martinez-Carranza in a speedy trial.

11          Therefore, it is hereby ORDERED that:

12          1.       The presently set October 5, 2017, status conference hearing be continued to November

13          9, 2017, at 9:30 a.m. for defendant Leobardo Martinez-Carranza only.

14          2.       Pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B) (iv) and Local Code T4, time is excluded

15 from the date of the parties’ stipulation, October 3, 2017, until the proposed November 9, 2017, status

16 conference hearing date from computation of time within which the trial of this matter must be

17 commenced to allow defense counsel time to prepare defendant Leobardo Martinez-Carranza’s defense.

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19 DATED: October 3, 2017

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                                                                      Troy L. Nunley
22                                                                    United States District Judge
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